         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2023-1139
                  LT Case No. 2014-CF-001947
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DUSTIN HEATHMAN,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Marion County.
Anthony M. Tatti, Judge.

Robert David Malove, of The Law Office of Robert David Malove,
P.A., Ft. Lauderdale, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Kristen L.
Davenport, Assistant Attorney General, Daytona Beach, for
Appellee.

                       August 27, 2024

PER CURIAM.

    AFFIRMED.

WALLIS, SOUD, and KILBANE, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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